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 1   CLARK HILL PLC
     PAOLA M. ARMENI
 2   Nevada Bar No. 8357
     Email: parmeni@clarkhill.com
 3   3800 Howard Hughes Parkway, Suite 500
     Las Vegas, Nevada 89169
 4   Telephone: (702) 862-8300
     Facsímile: (702)862-8400
 5   Attorney for Defendant, NICHOLAS GARROTT
 6
                                  UNITED STATES DISTRICT COURT
 7
                                          DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                            CASE NO. 2:18-cr-00252-JCM-VCF-2
 9
                                     Plaintiff,
10
     vs.
11
     NICHOLAS GARROTT,
12
                                     Defendants.
13
           STIPULATION AND ORDER TO CONTINUE SENTENCING (FIRST REQUEST)
14

15            IT IS HEREBY STIPULATED by and between Nicholas Garrott, Defendant, by and
16   through his counsel, Paola M. Armeni, Esq., of the law firm of Clark Hill PLC and the Plaintiff,
17   United States of America, by and through Nicholas Trutanich, United States Attorney, and
18   Robert Knief, Assistant United States Attorney, that the Sentencing in the above-captioned
19   matter, currently scheduled for May 18, 2020, at the hour of 10:30 a.m. be vacated and set to a
20   date and time convenient to the Court but not earlier than sixty (60) days.
21            This Stipulation is entered into for the following reasons:
22         1. Due to the current pandemic, Mr. Garrott seeks to limit his movement in and out of the
23            Southern Nevada Detention facility to decrease any risk of contracting the virus.
24         2. Additionally, Mr. Garrott has serious concerns regarding the pandemic and does not wish
25            to be designated to a BOP facility (or transported to a BOP facility) which will occur
26            upon sentencing until BOP has made strides to handle the current pandemic crisis.
27         3. Defendants Mr. Nicholas Garrott, has appeared in this case, and is in custody and, along
28            with the government, agrees to this short continuance.
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 1      4. The additional time requested herein is not sought for purposes of delay and the denial of
 2         this request for a continuance could result in a miscarriage of justice.
 3      5. Federal Rule of Criminal Procedure 32(b)(2) permits this Court to continue a sentencing
 4         hearing for good cause. Good cause exists in this case.
 5      6. For all the above-stated reasons, the ends of justice would be best served by a short
 6         continuance of the sentencing hearing.
 7      7. This is the first request for a continuance of the sentencing hearing.
 8   NICHOLAS TRUTANICH                                CLARK HILL PLC
     UNITED STATES ATTORNEY
 9   DISTRICT OF NEVADA
10   DATED this 5th day of May, 2020.                  DATED this 28th day of April, 2020.
11   /s/ Robert Knief                                  /s/Paola M. Armeni
     Robert Knief                                      PAOLA M. ARMENI
12   Assistant United States Attorney                  Attorney for Defendant,
     Attorneys for Plaintiff,                          NICHOLAS GARROTT
13   UNITED STATES OF AMERICA
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 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3   UNITED STATES OF AMERICA,                             CASE NO. 2:18-cr-00252-JCM-VCF-2
 4                                   Plaintiff,
 5   vs.
 6   NICHOLAS GARROTT,
 7                                   Defendants.
 8                    FINDINGS OF FACT, CONCLUSION OF LAW AND ORDER
 9            Based on the pending Stipulation of counsel, and good cause appearing therefore, the
10   Court hereby finds that:
11                                       CONCLUSIONS OF LAW
12            Based on the fact that counsel has agreed to a continuance, the Court hereby concludes
13            that:
14         1. Due to the current pandemic, Mr. Garrott seeks to limit his movement in and out of the
15            Southern Nevada Detention facility to decrease any risk of contracting the virus.
16         2. Additionally, Mr. Garrott has serious concerns regarding the pandemic and does not wish
17            to be designated to a BOP facility (or transported to a BOP facility) which will occur
18            upon sentencing until BOP has made strides to handle the current pandemic crisis.
19         3. Defendants Mr. Nicholas Garrott, has appeared in this case, and is in custody and, along
20            with the government, agrees to this short continuance.
21         4. The additional time requested herein is not sought for purposes of delay and the denial of
22            this request for a continuance could result in a miscarriage of justice.
23         5. Federal Rule of Criminal Procedure 32(b)(2) permits this Court to continue a sentencing
24            hearing for good cause. Good cause exists in this case.
25         6. For all the above-stated reasons, the ends of justice would be best served by a short
26            continuance of the sentencing hearing.
27   …
28   …
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 1         7. This is the first request for a continuance of the sentencing hearing.
 2                                                 ORDER
 3            IT IS HEREBY ORDERED that the sentencing hearing in this matter scheduled for
 4                                                                                   20th day of
     May 18, 2020, at the hour of 10:30 a.m. is hereby vacated and continued to the _____
 5                  July
     ______________________,                        10:00
                             2020, at the hour of _________________     a
                                                                    ______.m., in Courtroom
 6   6A.
 7                  May_____
              DATED this 6, 2020.
                              day of ________________, 2020.
 8
                                          ________________________________________________
 9                                         JAMES C. MAHAN
                                           UNITED STATES DISTRICT COURT JUDGE
10                                         CASE NO.: 2:18-cr-00252-JCM-VCF-2
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